  AO 435              Case 22-60043 Document 924 Filed in TXSB on 06/03/24 Page 1 of 1
(Rev. 04/18)
                                                ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS                  FOR COURT USE ONLY

                                                                                                                   DUE DATE:
                                                             TRANSCRIPT ORDER
Please Read Instructions:
1. NAME                                                                          2. PHONE NUMBER                   3. DATE
 Marty L. Brimmage, Jr.                                                                                                        6/3/2024
                                                                                 (214) 969-4633
4. DELIVERY ADDRESS OR EMAIL                                                     5. CITY                           6. STATE         7. ZIP CODE
bkemp@akingump.com                                                               Dallas                            TX               75201
8. CASE NUMBER                               9. JUDGE                                              DATES OF PROCEEDINGS
 22-60043                                    Christopher M. Lopez                10. FROM 6/3/2024             11. TO 6/3/2024
12. CASE NAME                                                                                     LOCATION OF PROCEEDINGS
   Free Speech Systems LLC                                                       13. CITY Houston              14. STATE Texas
15. ORDER FOR
’ APPEAL                                     ’ CRIMINAL                          ’ CRIMINAL JUSTICE ACT                ’ BANKRUPTCY
’ NON-APPEAL                                 ’ CIVIL                             ’ IN FORMA PAUPERIS                   ’ OTHER (Specify)
16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                 PORTIONS                                    DATE(S)                         PORTION(S)                          DATE(S)
’   VOIR DIRE                                                                    ’   TESTIMONY (Specify Witness)

’ OPENING STATEMENT (Plaintiff)
’ OPENING STATEMENT (Defendant)
’ CLOSING ARGUMENT (Plaintiff)                                                   ’ PRE-TRIAL PROCEEDING (Spcy)
’ CLOSING ARGUMENT (Defendant)
’ OPINION OF COURT
’ JURY INSTRUCTIONS                                                              ’ OTHER (Specify)                       6/3/24 Hearing
’ SENTENCING
’ BAIL HEARING
                                                                            17. ORDER
                            ORIGINAL                             ADDITIONAL
 CATEGORY           (Includes Certified Copy to     FIRST COPY                          NO. OF PAGES ESTIMATE                     COSTS
                  Clerk for Records of the Court)
                                                                   COPIES
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  ORDINARY                      ’                       ’
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    14-Day                      ’                       ’
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   HOURLY                       ’                       ’
  REALTIME                      ’                       ’
                     CERTIFICATION (18. & 19.)
           By signing below, I certify that I will pay all charges                         ESTIMATE TOTAL
                        (deposit plus additional).                                                                 $              0.00 0.00
                                                                                                                                       0
18. SIGNATURE                                                                    PROCESSED BY
   /s/ Marty L. Brimmage, Jr.
19. DATE                                                                         PHONE NUMBER
    June 3, 2024
TRANSCRIPT TO BE PREPARED BY                                                     COURT ADDRESS



                                                      DATE             BY
ORDER RECEIVED

DEPOSIT PAID                                                                     DEPOSIT PAID

TRANSCRIPT ORDERED                                                               TOTAL CHARGES                     $              0.00 0.00
                                                                                                                                       0

TRANSCRIPT RECEIVED                                                              LESS DEPOSIT                      $              0.00 0.00
                                                                                                                                       0
ORDERING PARTY NOTIFIED
TO PICK UP TRANSCRIPT                                                            TOTAL REFUNDED

PARTY RECEIVED TRANSCRIPT                                                        TOTAL DUE                         $              0.00 0.00
                                                                                                                                       0
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